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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                             CIVIL ACTION NO. 09-12231-RGS

                                      EUSEBIO ALICEA

                                              v.

                                   KYLE WILCOX, ET AL.

                            MEMORANDUM AND ORDER ON
                           DEFENDANT’S MOTION TO DISMISS

                                        May 10, 2010

STEARNS, D.J.

       Plaintiff Eusebio Alicea’s response fails to address the thrust of the motion to

dismiss brought by defendants DeSantis, Griffin, Sapienza, and Wood. Defendants are

not contending that Alicea’s lawsuit should be dismissed in its entirety, but only as to them,

as the Complaint pleads no facts suggesting potential liability on their part.1 Only two of

the moving defendants are even mentioned in connection with any event alleged in the

Complaint (DeSantis and Griffin are said to have been the officers who booked plaintiff

after his arrest). If plaintiff’s theory is that one or more of the four defendants failed to

intervene to protect him, the Complaint fails to plead an essential element of that claim,

namely, “a realistic opportunity to intercede.” See Davis v. Rennie, 264 F.3d 86, 98 n.10

(1st Cir. 2001). As framed, the Complaint fails to satisfy even the very forgiving Gibson

notice pleading standard, which has since been superseded.

       To survive a motion to dismiss, a complaint must allege “a plausible entitlement to



       1
           Defendants conceded that the Complaint pleads sufficient facts against defendant
Wilcox.
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relief.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 559 (2007). “While a complaint attacked

by a Rule 12(b)(6) motion does not need detailed factual allegations, a plaintiff’s obligation

to provide the grounds of his entitlement to relief requires more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Id.

at 555 (internal citations omitted). See also Ashcroft v. Iqbal, 129 S. Ct. 1937, 1950

(2009).

       No plausible entitlement to relief is pled here, only the vaguest of speculative

conjectures, unanchored surmises, and gossamer appeals to unsupported inferences.

                                          ORDER

       For the foregoing reasons, the motion to dismiss as to defendants DeSantis, Griffin,

Sapienza, and Wood is ALLOWED.2

                                                  SO ORDERED.

                                                  /s/ Richard G. Stearns

                                                  ______________________________
                                                  UNITED STATES DISTRICT JUDGE




       2
        The dismissal will be entered without prejudice should discovery reveal a plausible
(and timely) factual basis for an amendment to the Complaint.

                                              2
